                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              RALEIGH DIVISION
                            Civil Action No. 4:19-cv-121


CAMPUS SAFETY PRODUCTS, LLC,

                     Plaintiff,
                                                                  COMPLAINT
vs.

FIRE DOOR SOLUTIONS, LLC,

                  Defendant.



       Plaintiff, Campus Safety Products, LLC, complaining of Defendant, Fire Door Solutions,

LLC, alleges and says as follows:

                                       INTRODUCTION

       Under the guise of desiring to enter into a business relationship with the Plaintiff,

Defendant, induced Plaintiff to enter into a Non-Disclosure Agreement so that the parties could

exchange information for the sole purpose of exploring a mutually beneficial business relationship.

Under this false pretense, Defendant purposefully, maliciously and systematically gathered

Plaintiff’s confidential, proprietary and trade secret information, not for the stated purpose, but

rather for the purpose of unfairly competing with Plaintiff and co-opting Plaintiff’s door barricade

system as its own.

                           THE PARTIES, JURISDICTION & VENUE

       1.      Campus Safety Products, LLC (“CSP”), is a North Carolina limited liability

company.




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       2.      Upon information and belief, Fire Door Solutions, LLC (“FDS”), is a Kansas

limited liability company registered to do business in the State of North Carolina and is actively

doing business in the State of North Carolina by virtue of its acquisition of Trinity Fire Partners, a

company located in Wake Forest, North Carolina in late 2017. Upon information and belief, FDS

has integrated Trinity Fire Partners into FDS such that FDS is engaged in substantial activity within

the State of North Carolina.

       3.      This Court has federal question jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because CSP has claims for misappropriation of trade secrets under the Defend Trade

Secrets Act of 2016, 18 U.S.C. § 1836(c). This Court has diversity jurisdiction over this action

pursuant to 28 U.S.C. § 1332 because there is complete diversity of citizenship between the parties

and the amount in controversy exceeds $75,000, exclusive of interest and costs. This Court has

pendent or supplemental jurisdiction over CSP’s remaining claims pursuant to 28 U.S.C. § 1367.

       4.      This Court has personal jurisdiction over FDS because it has sufficient minimum

contacts with the State of North Carolina to permit the exercise of personal jurisdiction consistent

with the principles of due process.

       5.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 because CSP resides

in the States of North Carolina, and because FDS engages in substantial activity within this district.

                                  FACTUAL BACKGROUND

A.     The Parties

       6.      CSP specializes in providing protection for the safety of the general public and

those who either visit, work, worship or study in public, private and government buildings.

       7.      CSP developed and designed RhinoWare® Door Barricade System (“RhinoWare”)

which is an emergency lockdown solution. The RhinoWare system locks down classrooms,



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offices, and any other rooms where potential victims of gun or physical violence can seek to shelter

in place. The RhinoWare system creates time enough for help to arrive and distance from those

wishing to do harm. The simplicity and intuitiveness of its’ design, combined with high force

resistance, has made RhinoWare one of the most effective door barricade systems available. Ease

of one-touch activation and deactivation provides a calm and subtle solution to otherwise traumatic

events and provides reassurance to those using facilities so equipped.

B.     CSP’s and FDS’s Contractual Relationship

       January 2017

       8.      On or about January 30, 2017, CSP and FDS entered into a Non-disclosure

Agreement (“NDA”) so that the parties could “continue to explore a business opportunity of

mutual interest.” The NDA contemplated that the parties “may disclose or may have already

disclosed to the other certain confidential technical and business information which the disclosing

party desires the receiving party to treat as confidential.” Further, the NDA provides that “[e]ach

party agrees not to use any Confidential Information of the other party for any purpose except to

evaluate and engage in discussions concerning a potential business relationship between the

parties.” Additionally, the NDA provides that “[n]either party shall reverse engineer, disassemble

or decompile any prototypes, software or other tangible objects which embody the other party’s

Confidential Informaton and which are provided to the party hereunder.”

       9.      The NDA also provides that:

       Confidential Information shall include without limitation the following, whether or
       not so designated upon disclosure: customer information, proprietary technical,
       financial, personnel, marketing, pricing, sales, marketing data, offer, and/or
       commercial information with respect to product or marketing programs including
       but not limited to; development, operation, performance, cost, know-how, content,
       business, process, manufacturing and marketing as well as ideas, concepts, designs
       and inventions, computer source and object code and computer programming



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       techniques; and all record bearing media containing or disclosing such information
       and techniques that are disclosed pursuant to this Agreement.

       10.      The parties were introduced to one another via telephone in January 2017 while

CSP was in Louisville, KY for a breach/strength test of the RhinoWare System by the U.S. Army

at Ft. Knox. CSP representatives were having conversations with dealers in Louisville about fire

rated through bolts. CSP wanted the RhinoWare system to be compliant with fire door regulations,

specifically NFPA 80. The dealer had found such a through bolt, with a distributor located in

Stilwell, Kansas, Fire Door Solutions, LLC. At a point, FDS’s CEO, Jeff Perry, became involved

in the conversations about fire rated through bolts and expressed an interest in the RhinoWare

system.

       11.      Initially, FDS expressed an interest in becoming a RhinoWare dealer. FDS invited

representatives of RhinoWare to come to FDS’s offices in Stillwell, KS, to discuss an “idea” they

had that would result in a significant strategic partnership. The meeting was to occur on February

9, 2017.

       12.      Prior to the meeting, Ed Johnson, CEO of CSP (“Mr. Johnson”), requested

that FDS sign a mutual NDA. FDS declined, however, to execute the NDA presented by

CSP and insisted that CSP sign an NDA that FDS drafted, which it did.

       February 2017

       13.      At the February 2017 meeting, CSP Board Member Kent Moore (“Mr. Moore”)

Mr. Johnson took a laptop with a PowerPoint overview of CSP and the RhinoWare system as well

as a RhinoWare system demonstration unit with RhinoWare a Tactical Breach Tool. The Tactical

Breach Tool allows law enforcement to disable the barricade system in the event of an emergency,

such as an active shooter situation in a school, place of employment, or government

building. Without a Tactical Breach Tool, the RhinoWare system is extremely difficult to

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deactivate or disengage. At the end of the meeting, FDS requested that it be allowed to purchase

the demonstration unit and Tactical Breach Tool, which CSP agreed.

        14.      During the meeting, Mr. Perry, indicated that FDS was interested in more than

being a dealer for the RhinoWare system. Rather, FDS wanted to enter into a Licensing Agreement

for a private labeled barricade device.

        15.      The Licensing Agreement was to apply to the RhinoWare system.

        16.      During the course of the meeting, CSP and FDS negotiated what were thought to

be the material terms of the proposed Licensing Agreement. The proposed terms were negotiated

by, among others, Mr. Moore, Mr. Johnson, Mr. Perry and FDS’ President David Geenens (“Mr.

Geenens”) in February 2017.

        17.      The material terms of the proposed Licensing Agreement included the minimum

number of RhinoWare units FDS would be required to purchase per year (100,000 per year for

five years) for CSP to agree to a licensing agreement, and a minimum additional number of

RhinoWare units FDS would be required to purchase in order to secure a right of first refusal

should a third-party make an offer to acquire CSP.

        18.      The number of units to secure FDS’s right of first refusal were 100,000 in year

one(1), 200,000 in year two (2), 300,000 in year three (3), 400,000 in year four (4), and 500,000

in year five (5).

        19.      In essence, the right of first refusal provision between CSP and FDS was that if an

unsolicited offer was presented to acquire CSP, FDS would have the right of first refusal to match

the offer or veto the deal so long as FDS met the minimum annual purchase requirement.




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       20.      Furthermore, the Licensing Agreement requirement was that FDS would achieve

fire rating for the private label RhinoWare unit, with CSP agreeing to forego getting its RhinoWare

system fire rated so long as FDS was meeting the minimum annual purchasing requirements.

       21.      In addition, all CSP dealers would be encouraged to sign with FDS for the licensed

private label door barricade system, which would be fire rated.

       22.      The meeting was adjourned with what CSP thought was a mutual expectation that

an agreement would be finalized in four to six weeks. For the next four weeks, Mr. Johnson

continued the negotiations with FDS’ President, Mr. Greenans. As part of the negotiation, and

subject to the NDA, Mr. Johnson provided sales opportunities to FDS.

       23.      As the negotiations continued, FDS introduced additional conditions and

contingencies, making the deal more complicated and slow to mature. One of the things that CSP

agreed to do was to support FDS in the development of their Fire Door Armor (the name for the

private label RhinoWare system) marketing materials and website content.

       24.      In late February 2017, Mr. Johnson sent to FDS two RhinoWare units with ½” holes

in the plates for FDS’ ½” through bolts for the sole purpose of having them tested for UL fire

rating certification – all in keeping with the agreement as it was being negotiated and subject to

the fully executed NDA.

       25.      CSP has since learned that FDS installed these RhinoWare units with RhinoWare

branding removed and replaced with Fire Door Armor branding on a demonstration door in their

offices for filming video demonstrations of the device being engaged for marketing purposes, with

or without a licensing agreement.

       26.      In keeping with the negotiations as they stood, FDS was allegedly in discussions

with UL to have the units fire rated. E-mail correspondence from FDS over the course of months



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indicated that these discussions were ongoing. However, it became apparent that FDS was not

going to be able to secure a fire rating for the units.

        March, April and May 2017

        27.      Over the months leading into the summer of 2017, CSP continued to provide FDS

with information as requested with the goal of finalizing the deal for a Licensing Agreement. In

some cases, the information providedby CSP had taken years to compile and develop. CSP was

not concerned, however, because it believed that it had the protection of the NDA.

        28.      FDS continued to assure CSP that the Licensing Agreement was imminent;

however, FDS continued to make up excuses to draw out the process. In hindsight, it is apparent

that FDS never intended to finalize a Licensing Agreement, but rather induced CSP to enter into

the NDA so that FDS could steal its information and know-how, keep CSP on the sidelines, and

market the Fire Door Armor system (actually the RhinoWare system rebranded as Fire Door

Armor without prior authorization) to regulatory agencies and customers (including those that they

became aware of through CSP).

        29.      In parallel to supposedly getting the agreement finalized, CSP was having FDS

design a ½” through bolt that would have a Torx security (six lobe with dimple) slot. Upon

information and belief, FDS delayed the development/prototyping of the through bolt in order to

postpone the first rating test date for the RhinoWare system, thereby giving them more time to find

a UL-certified test lab that would be agreeable to perform the test for FDS and its stolen product,

Fire Door Armor. In other words, the longer the process dragged on, the more opportunity FDS

had to acquire CSP’s competitive information and develop its competing strategy using literally

CSP’s product under the guise of working toward a Licensing Agreement.




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       30.      On or about May 1, 2017, Mr. Perry proposed a discussion regarding the acquisition

of CSP by FDS. CSP entertained the idea and in response to a request from Mr. Perry, provided

CSP corporate documents, cap tables, business plans, etc. CSP provided the documents with some

level of comfort because of the prior executed NDA.

       31.      It became apparent, however, that this was just another delay tactic and a way to

obtain CSP’s sensitive corporate information that it intended to use to market the RhinoWare

system as its own without ever paying license fees to CSP.

       32.      FDS requested, under the guise of easing the development of their Fire Door Armor

device along with finalizing the proposed Licensing Agreement, that CSP provide its CAD

drawings of the RhinoWare system. CSP did not provide these drawings.

       33.      By the end of May 2017, FDS completed its firedoorarmor.com website even

though it had not finalized the Licensing Agreement. Upon information and belief, FDS never

intended to finalize the License Agreement or to honor the NDA, but rather intended from the

outset to stall CSP’s marketing to the industry of its RhinoWare System and to co-opt as much of

CSP’s information and know-how as it could, all while gearing up to market to the world the

RhinoWare product as its own under the name Fire Door Armor.

       34.      CSP was told that the firedoorarmor.com website would not be made public until

the Licensing Agreement was finalized and executed. After all, what would FDS market since the

product it was going to sell was a private label RhinoWare system?

       June, July and August 2017

       35.      By June 2017, CSP expressed frustration with the continued delay of finalizing the

Licensing Agreement and FDS, in response, proposed that it market Fire Door Armor without a




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Licensing Agreement or purchase commitment. CSP refused this request, but continued to work

to provide what FDS needed to get to the point of executing the License Agreement.

       36.      For example, CSP had its graphics person work with FDS’s web/graphic’s person

to design the ACTIVE label with the Fire Door Armor logo. Once the design was complete, CSP

sent the graphic to its printer to print a couple of samples. Without CSP’s knowledge, FDS placed

those labels on the units that they had installed on doors in their offices, so that they could

demonstrate the units for marketing purposes.

       37.      In the first week of July 2017, Mr. Johnson reached out to Mr. Perry to again request

a status update. As usual, to stall, FDS sent back an update on everything they were working on,

but no substantive update on the License Agreement.

       38.      Due to the lack of progress on the License Agreement (and without knowing what

FDS was planning), CSP began to pursue UL-certified fire rating testing for the RhinoWare

System. CSP reached out to QAI Laboratories (“QAI”) for testing. QAI agreed to test the unit.

       39.      However, a few days later, QAI contacted CSP and asked if CSP had any business

relationship with FDS because they had seen a product that looked exactly like the RhinoWare

system on the FDS website, offered as Fire Door Armor. QAI indicated that it would not test the

CSP product if CSP was associated with FDS.

       40.      Upon inquiry, CSP learned that FDS posted CSP’s RhinoWare unit on its website

representing it publicly as FDS’s own product, Fire Door Armor.

       September 2017

       41.      On September 7, 2017, CSP called FDS and told them to immediately remove

CSP’s product from the FDS website. CSP also notified FDS that it would no longer pursue a

business relationship with it.



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       42.     FDS agreed to remove CSP’s product from the website and CSP heard nothing

more from FDS for the remainder of 2017.

       January 2018

       43.     On January 4, 2018, CSP received an e-mail from FDS asking for an update on the

RhinoWare fire rating certification. At that time, due to budget constraints, CSP had not moved

forward with UL fire rating tests.

       44.     On January 5, 2018, CSP received a Purchase Order from FDS for 50 RhinoWare

units and two Tactical Breach Tools. The Purchase Order referenced “RhinoWare private label

barricade.” CSP told FDS that it would only sell the product branded as RhinoWare and not Fire

Door Armor. On that basis, CSP agreed to fill the order.

       February 2018

       45.     CSP would not ship the order unless it was paid in full, and FDS did not pay in full

until February 6, 2018.

       46.     On February 7, 2018, CSP received an e-mail from Mr. Geenens requesting an

update on CSP’s patent application status (since granted) for the RhinoWare system. The timing

was curious and caused CSP to question the motivation.

       47.     On February 11, 2018, a press release was issued announcing a partnership between

Singlewire Software and Fire Door Armor. The partnership is for the development of an electronic

communication capability on the system to alert law enforcement and first responders of the fact

that the system is in lockdown. This is yet another example of RhinoWare co-opted information

that was subject to the NDA. It was during the negotiations of a deal between CSP and FDS that

CSP shared its intention of seeking a patent for RhinoWare Connect – wherein a hardwired or

wireless sensor would be integrated onto the device to alert backend monitoring or management



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systems, law enforcement and first responders of a system or unit lockdown. CSP has since been

awarded a patent on the RhinoWare Connect feature. A quick check of the Singlewire website

showed a RhinoWare unit in the schematic. It was not even labeled Fire Door Armor.

       48.     On February 12, 2018, CSP decided it would not fulfill FDS’ order and began doing

online searches of Fire Door Armor.

       49.     CSP discovered that firedoorarmor.com was live and online. CSP transmitted a

refund for the 50 RhinoWare units and this triggered an immediate request from Mr. Perry

requesting a telephone conference to discuss FDS’ funding from Emigrant Capital and the desire

to move forward together.

       50.     On February 15, 2018, following the requested telephone conference, CSP received

an e-mail from Mr. Perry with a proposed press release detailing the partnership between FDS and

CSP. This proposed press release is identical to one that was released by FDS on February 26,

2018, the only difference being that all reference to CSP, RhinoWare or any partnership was

removed and replaced with references to Fire Door Armor.

       51.     On February 23, 2018, an article was posted on the Kansas City Business Journal’s

website about Fire Door Armor and FDS. The photos posted in the article were the RhinoWare

product. Several months after first publishing the article, Kansas City Business Journal replace

the photos associated with the article depicting the rebranded RhinoWare device with photos of

the FDS revers-engineered and slightly modified design of the Fire Door Armor device.

       52.     On February 26, 2018, KCTV aired a news story about FDS “inventing” a door

barricade. The device shown, rebranded as Fire Door Armor, is one of the RhinoWare devices that

CSP sent to FDS to be fire tested to obtain the UL fire rating. FDS also demonstrated the Tactical

Breach Too, which CSP never allowed to be photographed or recorded on video. In fact, in order



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to keep the design of the Tactical Breach Tool out of the public domain in order to better safeguard

innocents and law enforcement, CSP elected not to even patent that design. Regardless, FDS

demonstrated the device, without regard to the fact that doing so could endanger law enforcement

and first responders, as well as those people the barricade system was intended to protect.

       December 2018

       53.     In December 2018, CSP received UL-certified Fire Rating for RhinoWare. CSP

received notification that its patent application for RhinoWare had been approved (patent number

10,214,948). CSP also received notification from the USPTO that a second patent will be awarded,

covering Means of Notification/Communications (wired or wireless) for the Barricade.

       54.     Upon information and belief, FDS has tried to patent the Fire Door Armor and

CSP’s Tactical Breach Tool.

                                  FIRST CAUSE OF ACTION
                                     (Breach of Contract)

       55.     The allegations of Paragraphs 1 through 55 of the Complaint are re-alleged and

incorporated by reference as if fully set forth herein.

       56.     The NDA is a valid and enforceable contract.

       57.     By the terms of the NDA, “[e]ach party agrees not to use any Confidential

Information of the other party for any purpose except to evaluate and engage in discussions

concerning a potential business relationship between the parties.”

       58.     FDS breached its obligations under the NDA by using CSP’s Confidential

Information for purposes beyond what it was contractually allowed. FDS breached its obligations

under the NDA by using CSP’s Confidential Information to compete against CSP all under the

guise of exploring a business relationship that it never intended to consummate.




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        59.       As a direct and proximate result of FDS’s breaches of the NDA, CSP is entitled to

recover from FDS damages, plus interest, to be shown and proven at trial.

                                  SECOND CAUSE OF ACTION
                                    (Fraud in the Inducement)

        60.       The allegations of Paragraphs 1 through 60 are re-alleged and incorporated by

reference as if fully set forth herein.

        61.       FDS knowingly induced CSP to enter into the NDA with and obtain CSP’s

Confidential Information and know-how without any intent of legitimately pursing a business

relationship between the parties, including the often-promised Licensing Agreement. FDS induced

CSP to provide: (a) sales opportunities to FDS; (b) two RhinoWare units with ½” holes in the

plates for their ½” through bolts – essentially RhinoWare prototypes for their stolen product Fire

Door Armor; (c) Tactical Breach Tool; (d) marketing materials; and (e) other sensitive corporate

information compiled and developed by CSP over a considerable duration of time, all while

assuring CSP that it would enter into the Licensing Agreement, a bargained for agreement that

CSP believed to be beneficial for both parties, without any intent of doing so, but rather with the

intent of unfairly competing with CSP using, literally, CSP’s RhinoWare System and passing it

off as its own.

        62.       FDS did this with the intent to deceive CSP into providing the RhinoWare units

and sensitive information for the purpose of marketing the Fire Door Armor system (actually the

RhinoWare system) to regulatory agencies and customers (including those that they became aware

of through CSP).

        63.       It is now apparent that FDS never intended to finalize a licensing deal, but rather,

under the guise of negotiating a licensing agreement, FDS intended to deceive CSP.




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        64.     FDS’s actions did, in fact, deceive CSP, and CSP reasonably relied on FDS’s false

representations and assurances that it would enter into a mutually beneficial licensing agreement.

        65.     As a direct and proximate result of FDS’s fraudulent inducement, CSP has suffered

damages, plus interest, to be shown and proven at trial.

                                   THIRD CAUSE OF ACTION
                                           (Fraud)

        66.     The allegations of Paragraphs 1 through 66 are re-alleged and incorporated by

reference as if fully set forth herein.

        67.     During the course of the relationship, FDS intentionally misrepresented its desire

to enter into a licensing agreement with CSP.

        68.     FDS engaged in this conduct with the intent of deceiving CSP into providing FDS

with: (a) sales opportunities to FDS; (b) two RhinoWare units with ½” holes in the plates for their

½” through bolts – essentially RhinoWare prototypes for their stolen product Fire Door Armor; (c)

marketing materials; and (d) other sensitive corporate information compiled and developed by CSP

over a considerable amount of time, all while assuring CSP that it would enter into the Licensing

Agreement, a bargained for agreement that CSP believed to be beneficial for both parties, without

any intent of doing so, but rather with the intent of unfairly competing with CSP using, literally,

CSP’s RhinoWare System and passing it off as its own.

        69.     FDS did this with the intent to deceive CSP into providing the RhinoWare units,

the Tactical Breach Tool, and sensitive information for the purpose of marketing the Fire Door

Armor system (actually the RhinoWare system) to regulatory agencies and customers (including

those that they became aware of through CSP).

        70.     FDS’s actions did, in fact, deceive CSP, and CSP reasonably relied on FDS’s false

representations and assurances that it would enter into a mutually beneficial licensing agreement

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and only use its Confidential Information “to evaluate and engage in discussions concerning a

potential business relationship …”

          71.      As a direct and proximate result of FDS’s fraudulent inducement, CSP has suffered

damages, plus interest, to be shown and proven at trial.

                                  FOURTH CAUSE OF ACTION
                               (Unfair and Deceptive Trade Practices)

          72.      The allegations of Paragraphs 1 through 72 are re-alleged and incorporated by

reference as if fully set forth herein.

          73.      FDS’ conduct, as set forth above, including its misappropriation of CSP’s trade

secrets, constitutes unfair and/or deceptive trade practices in violation of N.C. Gen. Stat. § 75-1.1

et seq.

          74.      Moreover, the willful missapproriation of CSP’s trade secrets is more than a breach

of contract and constitutes substantial aggravating circumstances. Further, the fact that FDS

fraudulently induced CSP to enter into the NDA with no intention of performing or following the

terms of the NDA when it was executed, and with no intention of pursuing a business relationship

with CSP, constitutes substantial aggravating circumstances.

          75.      FDS’ unfair and deceptive conduct affected commerce in North Carolina because,

among other things, it caused injury to CSP in North Carolina.

          76.      FDS’s wrongful conduct directly and proximately caused injury to CSP in excess

of $75,000.00.

          77.      In addition, CSP is entitled to recover damages from FDS for its violation of the

Act, with such amount to be trebled, as well as reasonable attorneys’ fees, in an amount to be

proven at trial.




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                                 FIFTH CAUSE OF ACTION
                          (Violation of the Defend Trade Secrets Act)

       78.     The allegations of Paragraphs 1 through 78 of the Complaint are re-alleged and

incorporated by reference as if fully set forth herein.

       79.     CSP’s Confidential Information, as defined in the NDA, and which was provided

to FDS pursuant to the terms of the NDA, is information that is not made public and is available

only to the CSP management team. CSP’s Confidential Information constitutes trade secrets under

the Defend Trade Secrets Act because they contain financial and business information that is

maintained electronically on CSP’s computer system, which is password protected.            The

Confidential Information is available only on a need-to-know basis.

       80.     CSP takes reasonable measures to keep the information secret, specifically by

limiting the availability of the information to those with a need-to-know and by keeping the

Confidential Information on password protected computers.

       81.     The Confidential Information derives independent economic value by not being

known or readily ascertainable by proper means to competitors, like FDS.

       82.     CSP did not give permission to FDS to use the Confidential Information with

anyone for any purpose “except to evaluate and engage in discussions concerning a potential

business relationship between the two parties.”

       83.     FDS acquired the Confidential Information while under the duty to comply with

the NDA.

       84.     Upon information and belief, FDS acquired the CSP’s Confidential Information for

the purpose(s) of competing with CSP and giving FDS a head-start in competing against CSP, all

the while distracting CSP with the false promise of a business arrangement.




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        85.     As a result of FDS’ misappropriation of the Confidential Information, CSP is

suffering injury and harm to its reputation among its customers and may lose customers to FDS

that it cannot recover. Without immediate and permanent injunctive relief, CSP will sustain

irreparable harm for which there is no adequate remedy at law.

        86.     FDS willfully and maliciously misappropriated CSP’s Confidential Information

and other sensitive corporate information by using the information outside of the scope of its sole

purpose – “except to evaluate and engage in discussions concerning a potential business

relationship between the parties”.

        87.     As a result of FDS’ misappropriation of the Confidential Information, CSP has been

and continues to be damaged and irreparably injured, including, but not limited, by the loss of sales

and profits that it would have earned but for FDS’ actions. In particular, CSP would be entitled to

recover all profits earned by FDS on the sales of goods to customers in the Confidential

Information, and any other damages, as may be determined at trial.

                                  SIXTH CAUSE OF ACTION
                               (Misappropriation of Trade Secrets)

        88.     The allegations of Paragraphs 1 through 88 are re-alleged and incorporated by

reference as if fully set forth herein.

        89.     CSP’s marketing materials and other sensitive corporate information compiled and

developed by CSP over a considerable duration of time are trade secrets within the meaning of the

North Carolina Trade Secrets Protection Act, North Carolina Gen. Stat. §66-152, et. seq.

        90.     Others involved in the same industry do not know CSP’s sensitive corporate

information. The trade secret information derives independent commercial value from not being

generally known in the industry.




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       91.     CSP’s trade secret information is not readily ascertainable through independent

development or reverse engineering.

       92.     CSP takes reasonable measures to protect this information, including through

provisions in the NDA, and by limiting it to those within CSP with a need-to-know basis and by

storing on computers that are password protected.

       93.     FDS’s conduct described herein constitutes unlawful misappropriation of CSP’s

trade secrets because it has acquired it under the guise of one purpose but is using and has used for

improper competitive purposes.

       94.     The misappropriation of trade secrets by FDS has caused and/or will cause harm to

CSP, the full extent of which is incapable of proof at this time.

       95.     As a result of FDS’ willful misappropriation, CSP has suffered and/or will continue

to suffer financial and economic loss, plus interest, to be shown and proven at trial. Further, CSP

will suffer irreparable harm unless and until FDS is enjoined from using CSP’s trade secret

information. Accordingly, pursuant to N.C. Gen. Stat. § 66-154, CSP is entitled to preliminary

and permanent injunctive relief, actual damages, measured by the economic loss suffered by CSP

or the unjust enrichment caused by the misappropriation of CSP’s trade secret information,

whichever is greater, punitive damages, and reasonable attorneys’ fees.

       WHEREFORE, CSP respectfully prays that the Court:

               (a)     Issue a preliminary injunction during the pendency of this action prohibiting

       FDS from using, disclosing, or otherwise misappropriating CSP’s trade secret information

       and other confidential information, pursuant to N.C. Gen. Stat. § 66-154(a) and the Defend

       Trade Secrets Act;




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        (b)        Issue a permanent Injunction prohibiting FDS from using, disclosing, or

otherwise misappropriating CSP’s trade secret information and other confidential

information, pursuant to N.C. Gen. Stat. § 66-154(a) and the Defend Trade Secrets Act;

        (c)        Issue an order requiring FDS to return to CSP any and all CSP products and

materials in their possession, including any property containing CSP trade secret or any

other confidential and proprietary information;

        (d)        Award CSP its actual damages, measured by the economic loss suffered by

CSP or by the unjust enrichment caused by the misappropriation of CSP’s trade secret

information, whichever is greater, or by FDS’ breach of the NDA, in an amount to be

proven at trial;

        (e)        Award CSP treble damages, reasonable attorneys’ fees and costs;

        (f)        Award CSP punitive damages;

        (g)        Award CSP its costs as permitted by law;

        (h)        Provide CSP with a trial by jury on all issues so triable; and

        (i)        For such other and further relief as is just and proper.




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Respectfully submitted, this the 28th day of August, 2019.


                                     NELSON MULLINS RILEY &
                                     SCARBOROUGH LLP

                                     /s/ Fred M. Wood, Jr.______________
                                     Fred M. Wood, Jr.
                                       N.C. State Bar No. 18437
                                     Evan M. Sauda
                                       N.C. State Bar No. 32915
                                     Ariel E. Harris
                                       N.C. State Bar No. 46085
                                     301 South College Street, Suite 2300
                                     Charlotte, North Carolina 28202
                                     Telephone: (704) 417-3000
                                     Facsimile: (704) 384-2800
                                     E-Mail: fred.wood@nelsonmullins.com
                                               evan.sauda@nelsonmullins.com
                                               ariel.harris@nelsonmullins.com

                                     Counsel for Plaintiff, Campus Safety Products, LLC




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